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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND
                                             OFFICE OF THE CLERK



Felicia C. Cannon, Clerk                                                              Reply to Southern Division Address
Catherine M. Stavlas, Chief Deputy
Elizabeth B. Snowden, Chief Deputy



                                                November 16, 2018




                         RECEIPT FOR SURRENDER OF PASSPORT



                                                                                                     USA v. Byung Il Bang
                                                                                            8:18−cr−00547−PX *SEALED*




Received 11/16/2018 from Attorney for the Defendant: Gerald Warren Kelly Jr., one
passport ending with 7301 issued by the country of the United States of America which is
being surrendered to the Court as a special condition of the defendant's release. This
passport is to be held in the custody of the Court until further ordered. Following the
termination of these proceedings, the Clerk will order the destruction of any passport in
custody beyond twenty years from date of issuance of the passport.




                                                                                       Very truly yours,
                                                                                                  /s/
                                                                                       Felicia C. Cannon
                                                                                       Clerk, U.S. District Court
                                                                                       District of Maryland
                                                                                       prepared by: N. Uddin




      Northern Division º 4415 U.S. Courthouse º 101 W. Lombard Street º Baltimore, Maryland 21201 º 410−962−2600
      Southern Division º 240 U.S. Courthouse º 6500 Cherrywood Lane º Greenbelt, Maryland 20770 º 301−344−0660
                                    Visit the U.S. District Court's Web Site at www.mdd.uscourts.gov
